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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 DEMETRIUS ROSS, et al.,                         )
                                                 )
                       Plaintiffs,               )
                                                 )
 vs.                                             )   Case No. 15-cv-309-SMY
                                                 )
 GREG GOSSETT, et al.,                           )
                                                 )
                       Defendants.               )

                        AMENDED SCHEDULING ORDER
       The Court hereby enters the following Amended Scheduling Order:

       1. The parties’ proposed class action notice(s) are due by September 14, 2023.

       2. A stipulation selecting a mediator shall be filed with the Court by October 5, 2023.

       3. Expert witnesses shall be disclosed, along with a written report prepared and signed by

          the witness pursuant to Federal Rule of Civile Procedure 26(a)(2) as follows:

                     Plaintiffs’ expert(s): November 7, 2023

                     Defendants’ expert(s): January 22, 2024

       4. Depositions of expert witnesses must be taken by:

                     Plaintiffs’ expert(s): December 21, 2023

                     Defendants’ expert(s): February 22, 2024

       5. Expert discovery shall be completed by February 22, 2024.

       6. The Mandatory Mediation Process shall be completed by March 22, 2024.

       7. All dispositive motions shall be filed by April 22, 2024.

       The parties should note that they may, pursuant to Federal Rule of Civil Procedure 29,

modify discovery dates set in the Joint Report by written stipulation, except that they may not

modify a date if such modification would impact (1) the date of any court appearance, (2) the
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deadline for completing the mandatory mediation session or the mandatory mediation process,

(3) the deadline for completing all discovery, or (4) the deadline for filing dispositive motions.

A.     Discovery Procedures:

               x Depositions upon oral examination, interrogatories, requests for documents,

                  and answers and responses shall not be filed unless on order of the Court.

                  Disclosures or discovery under Fed.R.Civ.P. 26(a) are to be filed with the

                  Court only to the extent required by the final pretrial order, other Court

                  order, or if a dispute arises over the disclosure or discovery.

               x The parties must comply with the meet-and-confer requirements of

                  Fed.R.Civ.P. 37 prior to contacting the Court with discovery disputes or

                  filing motions.

               x All discovery disputes that cannot be informally resolved shall be brought

                  to the Court’s attention through written motion. The motion shall be no

                  longer than 10 pages and shall state “DISPUTED” in the title. Responses

                  shall be filed within 7 days and shall be no longer than 10 pages. No reply

                  briefs shall be filed. Only material directly related to the motion shall be

                  attached to the motion (i.e. if the only dispute is about Interrogatory 15, only

                  that interrogatory and answer (and those related) shall be attached to any

                  motion or response). Disputed discovery motions will be referred to a

                  Magistrate Judge.




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            x Discovery disputes during depositions or those requiring prompt resolution

                shall be stated on the record to be resolved at a later date by a Magistrate

                Judge.

B.   Pretrial and Trial Deadlines:

            x This case is set for a Final Pretrial Conference on September 5, 2024 at

                10:00 a.m. and Jury trial on September 16, 2024, at 9:00 a.m. in the

                Federal Courthouse, Benton, Illinois.

            x The parties are referred to the Court’s Case Management Procedures located

                on the Court’s website for further instructions.

     IT IS SO ORDERED.

     DATED: September 7, 2023




                                                        STACI M. YANDLE
                                                        United States District Judge




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